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UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF IDAHO

UNITED sTATEs oF AMERJCA, ,\ _ __ f _V

CaseNo. [,;R .15"’025/ °’SEJL
Plaintiff, '

INDICTMENT

vs.

21 U.s.C. §§ s41(a)(1),(b)(1)(s),and 353
vADlM N. DMITRUK,

 

Defendant.

 

The Grand Jury charges:
COUNT ONE

Posscssion with Intent to Distribute Hernin
21 U.S.C. § 841(a)(1) and (b)(l)(B)

On or about July 26, 2018, in the District of Idaho, the defendant, VADIM N.
DMITRUK, knowingly and intentionally possessed With intent to distribute 100 grams or more
of a mixture and substance containing a detectable amount of hcroin, a Schedule l controlled

substance, in violation of Ti_tle 21 , United States Code, Section 841(a)(1) and (b)(l)(B).

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CRIMINAL FORFEITURE ALLEGATION

l)rug Forfeiture
21 U.S.C. § 853

Upon conviction of the offense charged in Count One of this lndictment, the defendant,
VADIM N. DMlTRUK, shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any and
_all property, real and personal, tangible and intangible, consisting of or derived from any
proceeds the defendant obtained directly or indirectly as a result of the foregoing drug offenses;
and any and all property, real and personal, tangible and intangible, used or intended to be used,
in any manner or part, to commit, or to facilitate the commission of, the foregoing offense. The
property to be forfeited includes, but is not limited to, the following':

1. Seized Personal Property_:

a. The sum of approximately $6,625.00 in seized currency; and
b. All interests in one black 2010 Mercedes E350, VIN Number
' deHFaHB§AAl 19282.

2. Um'ecovered Cash Proceeds and/or Facilitating Property: The defendant obtained
and controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the defendant used to facilitate the offense (if
facilitation is alleged) but, based upon actions of the defendant, the property Was transfen'ed,
diminished, comingled, or is otherwise unavailable

3. Substitute Assets: Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “or any other propelty of the defendant,”
up to the value of the defendant’s assets subject to forfeiture. The government will do so when
the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. _ Cannot be located upon the exercise of due diligence;

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b. Has been transferred or sold to, or deposited with, a third person;

c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e. _ Has been commingled with other property which cannot be subdivided
without difficulty.

Dated this \§\‘\9 day of August, 2018.

A TRUE BILL

/s/ [ signature on reverse]

 

Forep erson

BART M. DAVIS
United States Attorney

By.
@\f\g ,\/

Chiistian §. Naf'der ' \ \i
Assistant United States Attorney

INDICTMEN'I` - 3

